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                                UNITED STATES DISTRICT COURT
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                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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10          FLATIRON WEST, INC.,                             CASE NO. C19-201 MJP

11                                 Plaintiff,                ORDER DENYING JOINT
                                                             STIPULATED MOTION TO
12                  v.                                       AMEND CASE SCHEDULE

13          PTS SURVEYING INC.,

14                                 Defendant.

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16          This matter comes before the Court on the parties’ Joint Stipulated Motion to Amend the

17   Case Schedule. (Dkt. No. 31.) Having reviewed the motion and the remaining record, the Court

18   DENIES the motion.

19          The Parties seek to extend the deadlines in this matter “to accommodate the delay caused

20   by the parties waiting on the insurance coverage decision” as well as the “subsequent impacts

21   caused by the COVID 19 pandemic.” (Dkt. No. 31.) But the parties have known of the

22   insurance coverage decision since April and their Motion fails to state exactly how they were

23   delayed by the pandemic, what discovery is left to do, or to state a plan for its completion. The

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     ORDER DENYING JOINT STIPULATED MOTION TO AMEND CASE SCHEDULE - 1
              Case 2:19-cv-00201-MJP Document 32 Filed 10/21/20 Page 2 of 2




 1   Parties therefore do not show good cause to amend the case schedule, and the Court declines to

 2   make amendments on this record.

 3          Therefore, IT IS ORDERED that the request to amend the existing case schedule is

 4   DENIED without prejudice to bring a renewed motion which cures the defects noted above and

 5   outlines a plan for meeting the revised deadlines.

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 7          The clerk is ordered to provide copies of this order to all counsel.

 8          Dated October 21, 2020.



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                                                          Marsha J. Pechman
11                                                        United States Senior District Judge

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     ORDER DENYING JOINT STIPULATED MOTION TO AMEND CASE SCHEDULE - 2
